       Case 2:12-cv-00859-LMA-MBN Document 1287 Filed 07/06/20 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                             CIVIL ACTION

VERSUS                                                                No. 12-859

MARLIN GUSMAN, ET AL.                                                SECTION I

                                         ORDER

         Before the Court is a motion filed by the City of New Orleans requesting

that this Court modify its previous orders and indefinitely suspend the

programming, design, and construction of the Orleans Justice Center Phase III

facility.1 After reviewing the motion,

         IT IS ORDERED that the motion filed by the City of New Orleans is

REFERRED to the U.S. Magistrate Judge, pursuant to 28 U.S.C. §636 (b)(1)(B), to

conduct a hearing, including an evidentiary hearing if necessary, followed by the

submission to this Court of proposed findings of fact and recommendations for the

disposition of said motion.

         New Orleans, Louisiana July 6, 2020.



                                         ____________________________________
                                               LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE




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    R. Doc. No. 1281.
